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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DEBORAH CHARLESTON & LARRY : CIVIL ACTION
CI-IARLESTON (w/h), :
Plaintiffs

v. : NO. 08-5889
SALON SECRETS DAY SPA, INC. and
PT LASERS, LLC and PAMELA A. TROYAN
and BARBARA A. LINDNER and THOMAS J.
BURKE, D.O. and JOHN DOE, Nos. 1 - 5,
Defendants
_Q_RB_B

AND NOW, this l " day of l ' ' ` , 201 l, upon consideration of
the Motion for Summary Judgment pursuant to Federal Rule 56 of Defendant, Thomas J. Burke,
D.O., any Response thereto, it is hereby ORDERED and DECREED that said Motion is
GRANTED and all claims against Thomas J. Burke, M.D., including any and all crossclaims, are

hereby dismissed With prejudice.

BY THE COURT:

 

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26/1618832.v1/08064.00112
MARSHALL, DENNEHEY, WARNER

COLEMAN & GOGGIN
BY: E. CHANDLER HOSMER, III, ESQUIRE ATTORNEYS FOR DEFENDANT,
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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DEBORAH CHARLESTON & LARRY : CIVIL ACTION
CHARLESTON (W/h), ` ' '
~ ' Plaintiffs

v. ‘ ' : NO.' 08-5889 '
SALON SECRETS DAY'SPA, INC. and
PT LASERS, LLC and PAMELA A. TROYAN
and BARBARA A. LINDNER and THOMAS J.
BURKE, D.O. and JOHN DOE, Nos. l - 5,
Defendants

MOTION FOR SUMMARY JUDGMENT PURSUANT TO FEDERAL RULE OF
CIVIL PROCEDURE 56 OF DEFENDANT. THOMAS J. BURKE. D.O.

Defendant, Thomas J. Burke, D.O. ("Moving Defendant") moves for summary judgment
in his favor as to all claims and crossclaims asserted against him as neither plaintiffs nor any of
the cross-claiming co-defendants have produced any expert reports against him. Moreover, all
theories of liability asserted by Plaintiffs fail to state a claim upon Which relief may be granted
ln support thereof, Dr. Burke avers as folloWs:

l. Plaintiffs instituted this personal injury action on December 19, 2008 With respect to a
February 10, 2007 laser hair removal procedure that Was performed on Plaintiff, Deborah

Charleston by co-defendant, Barbara Lindner, at co-defendant', Salon Secrets Inc., Which Was

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owned by co-defendant, Pamela A. Troyan. Prior to April 2006, Dr. Burke had been acting as a
Medical Director of Salon Secrets. Plaintiffs allege that Ms. Lindner was Dr. Burke's agent
because he was acting as a medical director of Salon 'Secrets and therefore he is vicariously liable
for her actions. In the alternative, they allege that Dr. Burke is liable because he knew or should
have known that the laser was being used without his or any medical supervision

2. In their Amended Complaint, Plaintiffs alleged several theories of liability against Dr.
Burke, including professional negligence, lack of informed consent, violations of UTPCPL,
common law fraud, negligent misrepresentation, negligence per se, negligent infliction of
emotional distress, loss of consortium, and punitive damages A true and correct copy of
Plaintiffs Amended Complaint is attached hereto as Exhibit "A".

3. After a series of extensions with respect to discovery and expert deadlines,, this
Honorable Court entered an Order dated August 5, 2010 Which provided in pertinent part, that
Plaintiffs shall file their expert reports no later than 0ct0ber 1, 2010 and all dispositive motions,
if any, shall be filed on or before January 14, 2011. A true and correct copy of this Honorable
Court's Order is attached hereto as Exhibit "B".

5. As of the date of the filing of this Motion, Plaintiffs have not produced expert reports,
on liability and/or damages, and are in violation of this Honorable Court's Order dated August 5,
2010.

6. Accordingly, Plaintiffs have failed to meet their burden of proof With respect to any of
their alleged theories of liability as required under Pennsylvania law.

7. Moreover, Plaintiffs have failed to produce evidence essential to support the theories

of liability pled.

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8. Based on the undisputed facts, now that discovery is closed, Plaintiffs have not, and
cannot establish the underlying premises which formulate the bases of their theories of liability
asserted against Dr. Burke.

9. To the contrary, the evidence of record demonstrates the absence of a requisite
relationship between Dr. Burke, the co-defendants, and the Plaintiff sufficient to carry these
claims to trial. n

10. There was an agreement between Ms. Troyan and Dr. Burke which formed PT
Lasers, LLC. in 2004. The corporation leased the Harmony device Which was to be used by
Dr. Burke's private practice and Salon Secrets Day Spa., Inc. (S_e_e, D`eposition testimony of
Dr. Burke at page 12 and, deposition testimony of Pam Troyan at page 12, attached collectively
hereto as Exhibit "C").

11.v Prior to April 2006, Dr. Burke had been acting as the Medical Director of Salon
Secrets. (_S_e_e, Deposition testimony of Dr. Burke at pg. 24 attached hereto as Exhibit "D").

12. As part of the agreement for Dr. Burke to act as Medical Director, Ms. Troyan paid
for half of Dr. Burke's malpractice insurance. (_S_e§, Deposition testimony of Pam Troyan at pg.
134 attached hereto as Exhibit "E").

13. There were no written agreements regarding Dr. Burke's role as Medical Director of
Salon Secrets Day Spa, Inc. (_S__e§, Deposition Testimony of Pam Troyan nat pages 38, 134
attached collectively hereto as Exhibitn"F").

14. Dr. Burke was never an employee of Salon Secrets Day Spa, Inc. (B, Deposition

testimony of Dr. Burke at pages 17, 19 attached hereto as Exhibit "G").

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15. Dr. Burke never trained any of the Spa employees on the Harmony system, including
Ms. Lindner. (S_e§, Deposition testimony of Dr. Burke pg. 22; Deposition Testimony of Barbara
Lindner at pg 18 attached collectively hereto as Exhibit "H ").

16. Ms. Lindner was hired by Pam Troyan as an employee of Salon Secrets and
performed laser hair removal services on Mrs. Charleston as an employee of Salon Secrets. (_Sg,
Deposition of Barbara Lindner at pg. 9-10, 254 and Deposition testimony of Pam Troyan at pgs.
64-68 attached collectively hereto as Exhibit "I").

17. Dr. Burke never used the Harmony system on Mrs. Charleston or any paying patient
at Salon Secrets Day Spa. (_S_e§, deposition testimony of Dr. Burke at pg. 72; deposition
testimony of Pam Troyan at pgs. 199-200; deposition testimony of Mrs. Charleston at pg. 102-
105, 179-181 attached collectively hereto as Exhibit "J").

18. Mrs. Charleston never met Dr. Burke, never spoke to him, and never received any
literature bearing Dr. Burke's name or that described him as the Medical Director. (E,
deposition testimony of Mrs. Charleston at pages 115 and 210, attached hereto as Exhibit "K").

19. Dr. Burke only performed Botox at the Spa and stopped working at the Spa in

March, 2006, (_S_e§ Deposition testimony of Dr. Burke at pg. 25, 72 and Deposition testimony of
Pam Troyan at pg. 101, 321-322, and supplemental responses of Pam Troyan to Dr. Burke's
Request for Production of Documents attached collectively hereto as Exhibit "L").

20. Dr. Burke stopped being the Medical Director as of April 21 , 2006 and ended his
relationship with Salon Secrets Day Spa. (§§<_:, Deposition testimony of Dr. Burke at pages 25,
83 attached hereto collectively as Exhibit "M").

21. Dr. Burke Wrote to the Pennsylvania Joint Underwriting Association on March 18,

2006 requesting cancellation of his medical malpractice insurance effective April 21 , 2006, (§§e_,

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Deposition testimony of Dr. Burke at pg. 83-85, Exhibit B-15, and Supplemental Answer.s of Dr.
Burke to Interrogatories of Pam Troyan, attached hereto as Exhibit "N").

22. A refund check from the Pennsylvania Joint Underwriting Association dated May 9,
2006 Was mailed to Salon Secrets Day Spa, Inc. The refilnd check from Dr. Burke's early
cancellation of his medical malpractice insurance was cashed by the Salon and then deposited
into the PT Laser, LLC account. ( §e_e, Deposition testimony of Dr. Burke at pgs. 85-86 and
Supplemental Responses (Exhibit "M") and Amended Supplemental Responses of Dr. Burke to
the Interrogatories of Pam Troyan and Salon Secrets Day Spa attached hereto collectively as
Exhibit "O").

23. Dr. Burke was licensed to practice medicine in Pennsylvania from 1997 until
October 31, 2006, (_S_e_e, Deposition testimony of Dr. Burke at pgs. 44-5 5 attached hereto as
Exhibit "P").

24. In or around May 2006, Jason Carpenter, Vice President of MedX who sold the laser
Hair removal device to PT Lasers, LLC, was called by Pam Troyan who informed
him that Dr. Burke had resigned his positioned as Medical Director of Salon Secrets Day Spa
was no longer acting as the Medical Director for Salon Secrets Day Spa and-asked him to assist
in finding a new medical director. (S_ee, Affidavit of Jason Carpenter attached hereto as
Exhibit "Q").

25. On May 22, 2006, Jason Carpenter sent an e-mail to Dr. Burke asking if he (Dr.
Burke) had any objection to his assisting Ms. Troyan in finding a new medical director. (§§§,
Affidavit, Exhibit "Q").

26. Anna Marie Durso , a patient who came to see Dr. Burke at Salon Secrets for

injections in early 2006, was advised in June of 2006 by the receptionist at Salon Secrets that Dr.

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Burke was no longer there. (§_e_e, deposition testimony of Ms. Dorso at pgs. 33, 36 attached
hereto as Exhibit "R").
27. After being told Dr. Burke was no longer with Salon Secrets, Anna Marie Durso saw
Dr. Burke in his private practice in Newark, Delaware for the first time on January 5, 2007.
(§e§, deposition of Mrs. Durso pg. 39 and Supplemental Responses of Thomas J. Burke, D.O. to
Interrogatories of Salon Secrets Day Spa, Inc. and Pam Troyan attached hereto collectively as
Exhibit "S").
28. In order to establish a prima facie case of medical malpractice, Plaintiffs must prove
four elements:
a) that the medical provider owed a duty to the patient;
b) that the provider breached that duty;

c) that the breach of duty was the approximate cause of a substantial factor in
bringing about the harm suffered by the patient; and

d) that the damages suffered by the patient were the direct result of the harm.

Montgomery v. South Philadelphia Medical Group, Inc., 441 Pa. Super. 146, 656 A.2d 1385,
1390 (1995) (Citing Mitzelfelt v. Kamrin, 525 Pa. 54, 584 A.2d 888, 891 (1990)).

29. The record is devoid of any evidence, testimonial or documentary, critical of the
care and treatment provided by Moving Defendant, Thomas J. Burke, D.O.

30. Moreover, there is no evidence of record to establish that Dr. Burke owed a duty of
care to Plaintiff-wife

31. The existence of a duty of care is a question of law, not a question of fact. _Wl_snis_ki
v. Brown & Brown Ins. Co., 906 A.2d 571 (Pa. Super. 2006).

32. Without establishing a duty, a Plaintiff can have no cause of action against a

defendant regardless of that Defendant's conduct.

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33. The evidence of record establishes that there is no genuine issue of material fact and

therefore, Thomas J. Burke, D.O. is entitled to judgment as a matter of law.

MARSHALL, DENNEHEY, WARNER,
COLEMAN & GOGGIN

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IN THE UNITED STATES DISTRICT COURT
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DEBORAH CHARLESTON & LARRY : CIVIL ACTION
CHARLESTON (w/h), '
Plaintiffs
v. : NO. 08-5889

SALON SECRETS DAY SPA, INC. and

PT LASERS, LLC and PAMELA A. TROYAN

and BARBARA A. LINDNER and THOMAS J.

BURKE, D.O. and JOHN DOE, Nos. 1 - 5,
Defendants

MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT,
THOMAS J. BURKE, D.O'S MOTION FOR SUMMARY JUDGMENT
PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 56

I. INTRODUCTION

Defendant, Thomas J. Burke, D.O., seeks summary judgment in his favor because
Plaintiffs have failed to produce expert testimony required to support their claims under
Pennsylvania law and there is no evidence of record, testimonial or documentary, establishing

any theory of liability against Dr. Burke.

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II. FACTUAL BACKGROUND

Plaintiffs initiated this personal injury action on December 19, 2008 against., inter
alia, Moving Defendant, Thomas J. Burke, D.O. Plaintiffs Complaint relates to the February 10,
2007 laser hair removal procedure performed on Deborah Charleston by co-defendant, Barbara
Lindner, at co-defendant Salon Secrets Day Spa, Inc., which was owned by co-defendant,
Pamela A. Troyan. Prior to 2006, Dr. Burke had been acting as the Medical Director of Salon
Secret Day Spa, Inc. Plaintiffs allege that Ms. Lindner was Dr. Burke's agent because he was
acting as the Medical Director of Salon Secrets and therefore is vicariously liable for her actions.
In the alternative, they allege that Dr. Burke is liable because he knew or should have known that
the laser was being used without his or any medical supervision.

On June 30, 2009 this Honorable Court issued a Scheduling Order for this matter
which set the close of discovery for December 31, 2009. As Plaintiffs' counsel required more
time to complete his discovery, two additional extensions were granted. The final order provided
that all fact discovery shall be completed on or before October 29, 2010; plaintiffs shall forward
their expert reports no later than October 1, 2010; Defendants shall forward their expert reports
on or before November 29, 2010; and all dispositive motions shall be filed no later than January
14, 2011. Despite an additional ten (10) months for discovery, Plaintiffs were unable to produce
any evidence to support their theories of liability asserted against Dr. Burke.

The following evidence has been revealed through discovery:
0 There was an agreement between Ms. Troyan and Dr. Burke which formed PT Lasers,
LLC. in 2004. The corporation leased the Harmony device which was to be used by

Dr. Burke's private practice and Salon Secrets Day Spa., Inc.

0 Prior to April 2006, Dr. Burke had been acting as the Medical Director of Salon Secrets.

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As part of the agreement for Dr. Burke to act as Medical Director, Ms. Troyan paid for
half of Dr. Burke's malpractice insurance.

There were no written agreements regarding Dr. Burke's role as Medical Director of
Salon Secrets Day Spa, Inc.

Dr. Burke was never an employee of Salon Secrets Day Spa, Inc.

Dr. Burke never trained any of the Spa employees on the Harmony system, including Ms.
Lindner.

Ms. Lindner was hired by Pam Troyan as an employee of Salon Secrets and performed
laser hair removal services on Mrs. Charleston as an employee of Salon Secrets.

Dr. Burke never used the Harmony system on Mrs. Charleston or any paying patient at
Salon Secrets Day Spa,

Mrs. Charleston never met Dr. Burke, never spoke to him, and never received any
literature bearing Dr. Burke's name or that described him as the Medical Director.

Dr. Burke only performed Botox at the Spa and stopped working at the Spa in March,
2006.

Dr. Burke stopped being the Medical Director as of April 21 , 2006 and ended his
relationship with Salon Secrets Day Spa.

Dr. Burke wrote to the Pennsylvania Joint Underwriting Association on March 18, 2006
requesting cancellation of his medical malpractice insurance effective April 21, 2006.

A refund check from the Pennsylvania Joint Underwriting Association dated May 9, 2006
was mailed to Salon Secrets Day Spa, Inc. The refund check from Dr. Burke's early
cancellation of his medical malpractice insurance was cashed by the Salon and then
deposited into the PT Laser, LLC account.

Dr. Burke was licensed to practice medicine in Pennsylvania from 1997 until October 31,
2006.

In or around May 2006, Jason Carpenter, Vice President of MedX who sold the laser Hair
removal device to PT Lasers, LLC, was called by Pam Troyan who informed him that
Dr. Burke had resigned his positioned as Medical Director of Salon Secrets Day Spa was
no longer acting as the Medical Director for Salon Secrets Day Spa and asked him to
assist in finding a new medical director.

On May 22, 2006, Jason Carpenter sent an e-mail to Dr. Burke asking if he (Dr. Burke)
had any objection to his assisting Ms. Troyan in finding a new medical director.

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¢ Anna Marie Durso , a patient who came to see Dr. Burke at Salon Secrets for injections
in early 2006, was advised in June of 2006 by the receptionist at Salon Secrets that Dr.
Burke was no longer there.

¢ After being told Dr. Burke was no longer with Salon Secrets, Anna Marie Durso saw Dr.
Burke in his private practice in Newark, Delaware for the first time on January 5, 2007.

III. ARGUMENT

A. STANDARD FOR SUMMARY JUDGMENT

Summary judgment is proper "if` the pleadings, depositions, answers to interrogatories,
and admissions on file, together with the affidavits, if any, show that there is no genuine issue as
to any material fact and that the moving party is entitled to a judgment as a matter of law." Fed.
R. Civ. P. 56(c). An issue is genuine if the fact finder could reasonably return a verdict in favor
of the non-moving party with respect to that issue. Anderson v. Libertv Lobbv, Inc., 477 U.S.
242, 248, 91 L.Ed. 2d 202, 106 S.Ct. 2505 (1986); Nautilus Insurance Companv v. Gardner,
2005 U.S. Dist. LEXIS 4423, 6 (E.D.Pa. Mar. 21, 2005)(O'Neill, J.). An issue is material only if
the dispute over the facts "might affect the outcome of the suit under the governing law." I_c_l_.

When considering a motion for summary judgment, "the evidence of the nonmovant is to
be believed[,]" and he or she is entitled to the benefit of all reasonable inferences Anderson,
477 U.S. at 255. §e_e_ also Sempier v. Johnson & Higgins, 45 F.3d 724, 727 (3d Cir. 1995), Lrt.
de_n_ied, 515 U.S. 1159 (1995). Importantly, however, the nonmovant "must present affirmative
evidence to defeat a properly supported motion for summary judgment," and "the mere existence
of a scintilla of evidence in support of the plaintiffs position will be insufficien ." Anderson,

477 U.S. at 252, 257. "Where the record as a whole could not lead a rational trier of fact to find

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for the nonmoving party, there is no 'genuine issue for trial."‘ Matshushita Elec. Indus. Co. v.
Zenith Radio Corp_., 475 U.S. 547, 587 (1986) (internal citation omitted).l
B. IN THE ABSENCE OF EXPERT TESTIMONY, PLAINTIFFS
CANNOT ESTABLISH A PRIMA FACIE CASE OF
NEGLIGENCE AGAINST THOMAS J. BURKE, D.O.
lt is settled law in Pennsylvania that in order to establish a prima facie case of
negligence, the Plaintiff must prove the following four elements:
a) that the medical provider owed a duty to the patient;

b) that the provider breached that duty;

c) that the breach of duty was the proximate cause or a substantial factor in
bringing about the harm suffered by the patient; and

d) that the damages suffered by the patient were the direct result of the harrn.
Montgomerv v. South Philadelphia Medical Group, Inc., 441 Pa. Super. 146, 656 A.2d 1385,
1390 (1995) (citing Mitzelfelt v. Kamrin, 526 Pa. 54, 584 A.2d 888, 891 (1990)).

Expert testimony is required to establish the recognized standard of care attributable to
Moving Defendant under like circumstances Strain v. Ferroni, 405 Pa. Super.349, 592 A.2d
698, 701 (1991) (citing Tarter v. Linn, 396 Pa. Super.155, 578 A.2d 453 (1990)). Further, expert
testimony must be provided thatthe Moving Defendant's conduct varied from the acceptable
medical practice. Montgomerv v. South Philadelphia Medical Group, Inc., 441 Pa. Super. 146,
656 A.2d 1385, 1390 (1995). Expert testimony must be submitted to establish that Moving
Defendant negligently carried out his professional duties and departed from the standard of care

exercised by the others in the community. I_d. Expert testimony must be submitted to establish

 

1 Alternatively, Moving Defendant seeks dismissal of this action pursuant to Federal Rule of Civil Procedure 41 (b)
which provides that a Defendant may move to dismiss the action if the plaintiff fails to prosecute or to comply with
the rules or a court order. After several extensions of the discovery deadlines, this Honorable Court issued an Order
dated August 5, 2010 setting forth the deadlines as to fact discovery, the production of expert reports, and the filing
of dispositive motions. Pursuant to this Honorable Court's Order, Plaintiffs' counsel was mandated to provide their
expert reports no later than October l, 2010, As of the date of filing of this Motion, Plaintiffs have not complied
Accordingly, Moving Defendant, Thomas J. Burke, D.O. moves for dismissal of this action.

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that the alleged negligence of Moving Defendant was the proximate cause of the harm suffered
Brannan v. Lankenau Hospital, 490 Pa. 488, 417 A.2d 96 (1980).

The only exception to this requirement that expert testimony be submitted in a medical
malpractice action is when the "matter under investigation is so simple, and lack of skill or want
of care so obvious, as to be within the range of the ordinary experience and comprehension of
non professional persons." Chandler v. Cook, 438 Pa. 447, 451, 265 A.2d 794, 796 (1970)
(citing Smith v. Yike, 412 Pa. 94 (1963)).. Moving Defendant submits that this case is not so
simple, or that the lack of skill or want of care so obvious that it is within the range of experience
and comprehension of non-professional persons. Moving Defendant asserts that in order for
Plaintiffs to sustain their burden of proof, expert testimony must be submitted on the specific
type of care and treatment provided in this case and that their injuries were proximately caused
by negligent conduct of the alleged tortfeasor. §e_e Flickeringer Estate v. Ritsky, 452 Pa. 69, 305
A.2d 40 (1973). Thus, liability may not be imposed merely upon proof of negligent conduct by
the tortfeasor, but, rather, hinges upon Plaintiffs proof of a causal nexus between the negligent
conduct and the Plaintiffs asserted injury. §e_e Hamil v. Bashline. 481 Pa. 256, 392 A.2d 1280
(1978); s_e§ also Maurer v. Trustees of the Univ. of Pennsylvania, 418 Pa. Super. 510, 614 A.2d
7754 (1992), appeal g@n_tgi, 626 A.2d 1158 (1993). Expert testimony is required to establish
both negligence and causation

As stated previously, pursuant to Court Order, Plaintiffs were required to produce expert
reports in support of their claims against Dr. Burke on or before October 1, 2010. More than
three (3) months have elapsed and as of the date of the filing of this Motion, Plaintiffs have
failed to submit expert reports critical of Dr. Burke. The absence of expert testimony to support

their claim of professional negligence prevents Plaintiffs from sustaining their prima facie case

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at the time of trial. Accordingly, summary judgment on behalf of Dr. Burke is mandated as a
matter of law.2
C. PLAINTIFFS CANNOT ESTABLISH THAT DR. BURKE OWED
PLAINTIFF-WIFE A DUTY OF CARE AND THEREFORE CANNOT
SUSTAIN A CAUSE OF ACTION AGAINST I-IIM
The existence of a duty of care is a question of law, not a question of fact, for a Court to
decide. Wisniski v. Brown & Brown Ins. Co., 906 A.2d 571 (Pa. Super. 2006).
When considering the question of duty, it is necessary to determine
whether a defendant is under any obligation for the benefit of the
particular plaintiff . . . and, unless there is a duty upon the
defendant in favor of the plaintiff that has been breached, there can

be no cause of action based upon negligence Petrongola v.
Comcast-Spectacor, L.P., 789 A.2d 204 (Pa. Super. 2001).

In Althaus v. Cohen, 562 Pa. 547, 756 A.2d 1166, the Pennsylvania Supreme Court
set forth five considerations in determining the existence of a physician patient relationship.
These considerations are : (1) the relationship between the parties; (2) the social utility of the
actor's conduct; (3) the nature of the risk imposed and foreseeability of the harm incurred: (4) the
consequence of imposing a duty upon the actor: and (5) the overall public interest in the
proposed solution. I_d_. At 1169. Applying these consideration here, it is plainly evident that
there was no relationship between Dr. Burke and Mrs. Charleston. By Mrs. Charleston own
testimony, she never met Dr. Burke, never spoke to him, and never received any literature
bearing Dr. Burke's name or that described him as the Medical Director of Salon Secrets. The
evidence of record further provides that Dr. Burke had ended his relationship with Salon Secrets
some ten (10) months before Mrs. Charleston’s service, cancelled his medical malpractice

insurance coverage effective April 2006, and was no longer practicing in Pennsylvania at the

 

2 As Plaintiffs cannot sustain their burden of proof on their principal theory of negligence, in the absence of expert
testimony, plaintiff- husband‘s claim for loss of consortium, which is derivative of his wife's claim, is necessarily
extinguished Accordingly, Dr. Burke is entitled to summary judgment on this claim as well.

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time of her treatment Accordingly, there was no special, direct relationship between Dr. Burke
and Mrs. Charleston to create a duty of care owed by a physician to his patient.

As Plaintiffs are unable to establish a direct relationship, in their Amended Complaint,
Plaintiffs attempt to rely upon the Restatement of Torts (Second) Section 342A to create a duty
on behalf of Dr. Burke so as to impose liability. Section 324A of the Restatement of Torts
(Second) provides in pertinent part:

One who undertakes, gratuitously or for consideration, to render
services to another which he should recognize as necessary for the
protection of a third party or his things, is subject to liability to the

third party for the physical harm resulting from his failure to
exercise reasonable care to protect his undertaking, if:

(a) his failure to exercise reasonable care increases the
risk of such harm, or

(b) he has undertaken to perform a duty owed by others
to the third person, or '

(c) the harm is suffered because of reliance of the other
or third person upon the undertaking

In regard to Section 324A of the Restatement, the Pennsylvania Supreme Court in
Cantwell v. Alleghenv Countv, 483 A.2d 1350 (Pa. 1984), held that "(i)n order to state a cause of
action under §324A, a Complaint must contain factual allegations sufficient to establish the legal
requirement that the Defendant has undertaken 'to render services to another which he should
recognize as necessary for the protection of a third person. . . '." I_d Applying the Cantwell
holding, the Plaintiffs' Amended Complaint must contain factual allegations sufficient to
establish the l_egal requirement that Dr. Burke undertook to render services to another which Dr.
Burke should have recognized as necessary for the protection of a third party. Although
Plaintiffs have satisfied the notice pleading requirement of federal procedure, this case illustrates

that despite an additional ten months of discovery, Plaintiffs have been unable to unearth any

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evidence to establish a prima facie case. In fact, the underpinnings of plaintiffs argument to
support a claim under the Restatement are not based on evidence of record Therefore, Plaintiffs
cannot establish a prima facie case pursuant to Section 324A.

Extensive research has failed to unfold any Pennsylvania appellate or trial court cases on
point establishing a duty under the factual scenario presented in the case at bar. In instances
where courts have addressed Section 324A in the context of healthcare providers, it has been
strictly construed and applied only where there has been a relationship between the doctor and
the injured person (e.g. DiMarco v. Lynch, 583 A.2d 442 (Pa. 1990) where a physician duty
found to third person where physician failed to advise his patient who was exposed to a
communicable disease not to have sexual relations with other persons; Ward v. Most Health
Services. Inc., 2008 U.S. Dist. LEXIS 61573 where a doctor patient relationship was established
by the court where decedent's employer provided free annual physicals including chest x-rays to
employees exposed to hazardous substances and the chest x-ray read as normal by a physician
employee of Most Health Services was inaccurate with the patient dying from lung cancer a year
later;compare with McCandless v. Edwards, 908 A.2d 900 (Pa. Super. 2006), appeal denied,
923A.2d 1174 (Pa. 2007) where the court held that the defendant healthcare provider did not owe
a duty of care to plaintiffs decedent, who overdosed on methadone stolen from defendant's
facility and sold to decedent.)

As Dr. Burke and Mrs. Charleston did not have a physician patient relationship and for
the reasons set forth above, Plaintiffs have failed set forth a prime facie case pursuant to Section

324A of the Restatement

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D. PLAINTIFFS FAIL TO STATE A CLAIM FOR PUNITIVE DAMAGES

In their prayer for relief or ad damnum clauses of the Amended Complaint, Plaintiff
seeks punitive damages against all Defendants. As to Dr. Burke, no allegations of intentional,
reckless, or outrageous conduct have been pled against him. In fact, Plaintiff concedes that Dr.
Burke's actions were nothing more than "negligence" and that the primary cause of action is
based on negligence _See, Exhibit A, Am. Compl. at paragraphs 155, 191, 212, 227, 325, and
329. As the alleged negligence is categorically insufficient for the imposition of punitive
damages, Plaintiffs' claim for punitive damages necessarily fails.

a. Punitive damages under Pennsylvania common law

In Pennsylvania, the imposition of punitive damages is an extreme remedy which is
reserved for exceptional circumstances Brown v. Maxfield, 663 F. Supp. 1193, (E.D. Pa. 1987);
Cochetti v. Desmond, 572 F.2d 102, (3d. Cir. 1978); see also Dowhouer v. Judson, 45 D & C. 4th
172 (C.P. Dauphin 2000) ("Pennsylvania courts have limited the availability of punitive damages
only to 'punish the rare instances of extreme behavior").

Under Pennsylvania common law, punitive damages are "damages, other than
compensation or nominal damages, awarded against a person to punish him for his outrageous
conduct". Restatement of Torts (Second) § 908(1); Feld v. Merriam, 506 Pa. 383, 395, 485
A.2d 742, 747 (1984) (holding trial court erred in submitting issue of punitive damages to jury);
Chambers v. Montgomery, 411 Pa. 339, 344, 192 A.2d 355, 358 (1963) (vacating punitive
damages award, holding that the issue of punitive damages should have been taken from jury).
"Punitive damages are appropriate to punish and deter only extreme behavior and, even in the
rare instance in which they are justified, are subject to strict judicial control." Martin v. Johns~

Manville Corp., 508 Pa. 154, 169, 494 A.2d 1088, 1096 (1985), reversed on other ground, 528

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A.2d 947 (1987). As noted by the Superior Court, "the purpose of punitive damages is to punish
outrageous and egregious conduct done in a reckless disregard of another's rights; it serves a
deterrence as well as punishment function." Schecter v. Watkins, 395 Pa. Super. 363, 383-84,
577 A.2d 585, 5959, appeal denied, 526 Pa. 638, 584 A.2d 320 (1990).

The burden of proof with respect to a punitive damages claim is significant
Pennsylvania law does not permit the imposition of punitive damages unless the evidence
establishes that the Defendant's conduct is "outrageous, because of the Defendant's evil motive or
his reckless indifference to the rights of others." Restatement of Torts (Second) § 908, comment
b; _Ee_l_d, 506 Pa. at 395, 485 A.2d at 747; Chambers, 441 Pa. at 344, 192 A.2d at 358.

In assessing whether punitive damages are appropriate, the motive for the tortfeasor's act
must be taken into account, not just the nature of the act itself or the relationship of the parties
_S_e_e, gg, _l\_/I_a_r_t_i_n, 508 Pa. at 170, 494 A.2d at 10906 (quoting Restatement of Torts [Second] §
908(2)). T he state of mind of the actor is vital The act or failure to act, must be intentional,
reckless or malicious." E_e_l_d, 506 Pa. at 396, 485 A.2d at 748 (emphasis added). Punitive
damages may not be assessed against a Defendant whose conduct constitutes ordinary negligence
such as inadvertence, mistake or errors of judgment M_Lip, 508 Pa. at 170, 494 A.2d at 1097.
Punitive damages are not justified if the Defendant's mental state rises only to the level of
ordinary negligence or even gross negligence. M, 508 Pa. at 172, 494 A.2d at 1098.

In determining whether a Defendant exhibits a evil motive or reckless indifference to the
rights of others, there must be evidence that the Defendant actually knew of facts that created a
high risk of physical harm to the Plaintiff. Then, the defendant must have proceeded to act in
conscious disregard of, or indifference to, that risk. _S_ee, §_.gg Ma_rtin, 508 Pa. at 171-72 n. 12,

494 A.2d at 1097 n.12. Reckless indifference to the interests of others has been said to mean that

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"the actor has intentionally done an act of an unreasonable character, in disregard of a risk
known to him or so obvious that he must be taken to have been aware of it, and so great as to
make it highly probably that harm would follow." Evans v. Philadelr)hia Transp. Co., 418 Pa.
567, 574, 212 A.2d 440, 443 (1965); see al@ Lewis v. Miller, 374 Pa. Super. 515, 520, 543 A.2d
590, 592 (1988) (noting that wanton conduct, as required for imposition of punitive damages,
requires a state of mind in which the tortfeasor realizes the danger to the Plaintiff and disregards
it to such a degree that "there is at least a willingness to inflict injury, a conscious indifference to
the perpetration of the wrong.").

In a 2005 decision clarifying the "reckless indifference" requirement, the Pennsylvania
Supreme Court held that a "failure to appreciate the degree of risk" claim - such as the one
asserted by Plaintiffs here - cannot form the basis of an award of punitive damages Hutchison
v. Luddy, 582 Pa. 114, 123, 870 A.2d 766, 771-(2005). In so holding, the Court explained that
there "two very different types of state of mind as to reckless indifference." E. at 122, 870 A.2d
at 771. The first type is where the actor "knows, or has reason to know. . .of facts which create a
high degree of risk of physical harm to another, and deliberately proceeds to act, or fails to act, in
conscious disregard of, or indifference to, that risk." lc_l. at 122-23, 870 A.2d at 771 (internal
citation omitted). The second type is where the "actor had such knowledge, or reason to know,
of the facts, bat does not realize or appreciate the high degree of risk involved, although a
reasonable man in his position would do so." ld_. (internal citation omitted) (emphasis added).

The Hutchison Court rejected the second type of mental state as a basis for punitive
damages awards and, thus, affirmed the settled principle that a "failure to appreciate the degree
of risk from a known danger" is insufficient to support an award for punitive damages based on

reckless indifference. lj. at 123, 870 A.2d at 771. The Court explained that " '[t]he only purpose

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of punitive damages is to deter outrageous conduct. lt is impossible to deter a person from
taking risky action if he is not conscious of the risk.' " l_d. (internal citation omitted). The
Hutchison Court, thus, summarized the testing for punitive damages based on reckless
indifference as follows:

[I]n Pennsylvania, a punitive damages claim must be supported by

evidence sufficient to establish that (1) a Defendant had a

subjective appreciation of the risk of harm to which the Plaintiff

was exposed and that (2) he acted, or failed to act, as the case may
be, in conscious disregard of that risk.

ld. at 124, 870 A.2d at 772 (internal citation omitted) (emphasis added).
b. Punitive Damages Under MCARE

ln March of 2002, the punitive damages provision of HCSMA was supplanted by the
punitive damages provision of MCARE Act. 40 P.S. § 1303.505 (2002). The MCARE Act
limits punitive damages against health care providers to cases involving "willful or wanton
conduct or reckless indifference to the rights of others." 40 P.S. § 1303.505(a). Under MCARE,
a showing of gross negligence is insufficient to support punitive damages 40 P.S. §
1303.505(b). Finally, under the Act, punitive damages may be imposed for vicarious liability
only if the health care provider knew of and allowed the outrageous conduct. 40 P.S. §
l303.505(c). lmportantly, the General Assembly's implementation of the punitive damages
provision speaks to the impropriety of such awards in the vast majority of malpractice cases, and
acts as a persuasive argument against the imposition of punitive damages in this case.

lt is evident here that Plaintiffs entire theory of liability is inconsistent with the
requirements for punitive damages under Pennsylvania law. Because Plaintiffs claims - at most
- sound in negligence or gross negligence, punitive damages are unavailable to them as a matter

of law.

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c. Vicarious Liability
The Pennsylvania General Assembly has largely curtailed the ability of a litigant to
recover exemplary damages against a healthcare provider who is only vicariously liable. Under
MCARE, a plaintiff may not recover punitive damages against a healthcare provider on a
vicarious liability theory, unless the healthcare provider had "actual knowledge" of outrageous
misconduct by its agent, but nonetheless allowed that misconduct to continue. _D_ean_L
Communitv Medical Center, 46 Pa. D&C. 4th 334, 344 '(C.P. Lackawanna 2000). The.courts
have referred to this as an "injection of a scienter element into the respondeat superior equation,"
and have recognized that the scienter requirement represents a significant departure from
common law. Ld. at 342 (explaining that the scienter requirement is a "substantive[]
modif[ication] of Pennsylvania law regarding the vicarious liability of a healthcare provider for
punitive damages based upon the conduct of its agent").
Thus, pursuant to § 1303.505 of MCARE, which governs here:
Punitive damages shall not be awarded against a healthcare provider who
is only vicariously liable for the actions of its agent that caused the injury
unless it can be shown by a preponderance of the evidence that the party
knew of or allowed the conduct by its agent that resulted in the award of
punitive damages
40 P.S.§ 1303.505. By its express terms, therefore, the statute requires actual knowledge on the
part of the principal, of its agent's outrageous conduct, in order to recover damages against the
vicariously liable healthcare provider.
In Zazzera v. Roche, the court explained the actual knowledge requirement as follows:
"[A] health care provider may not be vicariously liable for exemplary damages unless it had

actual knowledge of the [agent's] wrongful conduct and nevertheless allowed it to occur." 54 Pa.

D.&C.4th at 238 (construing the identical provision in the predecessor statute to MCARE, 40 P.S.

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§ 1301.812-A(c)). Thus, a patient must "aver and establish that the health care principal was
cognizant of the agent's willful, wanton or recklessly indifferent treatment and allowed the
conduct to proceed unabated." I_d_.;'@ al_s_o DU, 46 Pa. D.&C.4th at 344 (dismissing punitive
damages claim against principal where "[t] the complaint [was] devoid of any indication that
[the] principal knew of [the agent's] misconduct and allowed it to occur ....").

Applying § 1303.505 here, there is not a single allegation in Plaintiffs' Amended
Complaint demonstrating that Dr. Burke actually knew of allegedly willful, wanton or
recklessly indifferent treatment by his purported agent and nonetheless allowed the outrageous
conduct to continue unabated ln the absence of such allegations and evidence, Plaintiffs cannot
state a claim for punitive damages against Dr. Burke.

D. PLAINTIFFS' NEGLIGENCE PER SE CLAIM PURSUANT TO THE

OSTEOPATHIC MEDICAL PRACTICES ACT AND PENNSYLVANIA
MEDICAL PRACTICE FAILS AS A MATTER OF LAW

a. Osteopathic Medical Practices Act/Medical Practice Act

When considering whether the negligence per se doctrine is applicable, it is important to
consider whether the statute provides a private cause of action for a violation of that statute.
Wagner v. Anzon, lnc., 453 Pa. Super. 619, 630, 684 A.2d 570, 575 (1996), appe_al Med, 549
Pa. 704, 700 A.2d 443 (1997). "This is so because the private causes of action and negligence
per se 'address the question of whether the policy behind the legislative enactment will be
appropriately served by using it to impose and measure civil damages liability. . .Therefore, the
absence of a private cause of action in a statutory scheme is an indicator that the statute

did not contemplate enforcement of individual harms.' " lc_l. (internal citation omitted)

(emphasis added).

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Here, Plaintiffs seek a private remedy under the following statutes: The Osteopathic
Medical Practices Act and Pennsylvania Medical Practice Act, 63 Pa. Stat. Ann. , §422.1-
422.51(a) (West 2010). lmportantly, nothing in the language of the statutes cited by the Plaintiffs
expressly provides for a private right of action. Alfred M. Lutheran Distributors, Inc. v. A.P.

Weilersbacher lnc., 437 Pa. Super. 391, 400, 650 A.2d 83, 87 (1994), appeal denied, 540 Pa.

 

627, 658 A.2d 791 (1995). Thus, it is clear that neither the General Assembly or the State Board
of Osteopathic Medicine contemplated private enforcement for individual harms

Accordingly, the absence of a private right of action under the above cited statutes is a
clear indication that Plaintiffs' negligence per se claims, are without merit.

b. Statutes Cited by Plaintiffs Do Not Clearly Apply to the Conduct of Moving
Defendant.

ln order to establish a claim based on negligence per se, a Plaintiff must meet the
following four requirements: (1) the purpose of the statute is to protect the interest of a group of
individuals, as opposed to the general public; (2) the statute clearly applies to the conduct of the
Defendant; (3) the Defendant must violate the statute or regulation; and (4) the violation of the
statute or regulation must be the proximate cause of the Plaintiffs injuries Cabiroy Scipione,
767 A.2d 1078, 1081 (Pa. Super. 2001); _W_ag@, 453 Pa. Super. At 627, 684 A.2d at 574.

"While the violation of a statute or regulation may provide the basis for a finding of
negligence per se, it is well established that not every breach of a statutory duty imposes liability.

Chalfin v. Beverlv Enterprises, lnc., No. 87-3319, 745 F. Supp. 1117, 1119 (ED.PA 1990)

 

(internal citations omitted). ln Chalfin, the court reiterated that "before the violation of a statute
will be deemed negligence per se, the court must find that the "intent of the statute was at least in

part, to protect the interest of the Plaintiff individually, as opposed to the public". ld.

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The Pennsylvania Supreme Court generally follows the concepts set forth in the
Restatement of Torts (Second) when analyzing the standards of conduct that a court may adopt
to determine when and to whom a duty exists in negligence cases id at 1120. Section 288 of
the Restatement of Torts (Second) sets forth principles that determine when a standard of
conduct defined by Legislation or regulation should not be adopted:

The court will not adopt as the standard of conduct of a reasonable
man the requirements of a legislative enactment or an
administrative regulation whose purpose is found to be
exclusively. . .to impose upon the actor the performance of a
service which the state or any subdivision of it undertakes to give
the public.

Restatement of Torts (Second), §288(0).

Further, the comment to Section 288(c) states:

Other legislative enactments and administrative regulations are
intended for the purpose of imposing upon the actor the
performance of a service which the State, or some subdivision of
it, has undertaken to give to the public. They are intended to make
the actor responsible to the State, rather than to any individual.

Restatement of Torts (Second), §288(0), comment d (emphasis added).

ln Frantz v. HCR Manor Care lnc., No. S-2374-2002, 2003 Pa. Dist. & Cnty. Dec.
LEXIS 169; 64 Pa. D.&C.4th 457, 464-5 (Dec. 12, 2003), the court noted the Wagner finding that
negligence per se is also recognized in the Restatement of Torts (Second), § 286:

"The court may adopt as a standard of conduct of a reasonable man
the requirements of a legislative enactment or an administrative
regulation whose purpose is found to be exclusively or in part,

"(a) to protect a class of persons which includes the one whose
interest is invaded, and '

"(b) to protect the particular interest which is invaded, and

"(c) to protect that interest against the kind of harm which was
resulted, and

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"(d) to protect that interest against the particular hazard from
which the harm results"3 '

There is absolutely no legal and/or factual basis to support such a claim. Plaintiffs'
pleading amounts to an admission that their claim in this matter amounts to nothing more than a
claim for medical malpractice These legislative enactments were clearly intended for the
purpose of making the actor responsible to the State, rather than to any individual
Restatement of Torts (Second) § 288(c), cmt. D (emphasis added).

The negligence per se claims fail for the independent and alternative reasons that the
statutes at issue do not clearly apply to the conduct of the Defendant here. Thus, Plaintiffs'
negligence per se claims are without merit. Secondly, Pennsylvania law does not provide for
negligence per se in cases of medical malpractice ln malpractice cases, a jury will not be
permitted to find negligence without expert testimony to establish variance from accepted
medical practice Hamil v. Bashline, 98 Pa. 256, 393 A.2d 1280 (1978); §e_e a_l_s_p_, Maurer v.
Trustees of the Univ. of Pennsylvania, 418 Pa. Super. 510, 614 A.2d, 754 (1992), apr&al M,
626 A.2e 1158 (1993). Plaintiffs have failed to produce expert testimony to sustain a prima facie
case of negligence Consequently, Plaintiffs cannot sustain that their burden of proof that a
violation of either statute proximately caused Plaintiffs' injuries

Plaintiffs' prayer for relief for punitive damages attendant to this claim fails to state a
claim upon which relief can be granted and Moving Defendant incorporates herein'by reference

the punitive damages section of this Memorandum.

 

3 However, Wagner held: "Negligence per se does not apply where the purpose of the statute or regulation is to
secure the individual's enjoyment of rights or privileges to which they are entitled only as members of the public."

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E. PLAINTIFFS FAIL TO STATE A CLAIM PURSUANT TO UNFAIR
TRADE PRACTICES AND CONSUMER PROTECTION LAW
("UTPCPL") AND UNDER COMMON LAW FRAUD AND
NEGLIGENT MISREPRESENTATION
In Plaintiffs' Amended Complaint at Courts lll, IV, and V, they assert that Moving
Defendant is liable under the Unfair Trade Practices and Consumer Protection Law ("UTPCPL")
and common law fraud, and liable for negligent misrepresentation Simply stated, Plaintiffs
cannot meet their burden of proof with respect to these claims First, Pennsylvania courts have
held that the UTPCPL does not afford a private cause of action against doctors therefore,
Plaintiffs' UTPCPL claim is strictly prohibited, under Pennsylvania law. Second, there is no
evidence of record to show that Dr. Burke and Plaintiff had a consumer-seller relationship, or
any relationship for that matter. Third, the record is devoid of evidence to show that Dr. Burke
acted fraudulently and with the intent to deceive Plaintiff-wife in the purchase of the laser hair
removal services ln addition, Plaintiffs cannot show that Mrs. Charleston relied upon any
misrepresentations made by Dr. Burke with respect to the services purchased, since she had no
dealings with Dr. Burke respecting these services
Plaintiffs' claim under the UTPCPL is impermissible as a matter of law. lt is well-
established the UTPCPL does not apply to those persons or entities which provide medical
services _S_e_e Walters v. Warren Hospital, 876 A.2d 400, 407 (Pa.Super. 2005), affd per
curiam, 588 Pa. 739 (2006), Gatten v. Merzi, 579 A.2d 974 (1990), allocatur denied, 596 A.2d
157 (1991); Foflygen v. Zemel, 615 A.2d 1345 (1992). The Pennsylvania Superior Court in
Gatten v. Merzi, 579 A.2d 974, 976 (1990) upheld the dismissal of Plaintiffs' UTPCPL claim
against her doctor, premised upon an allegation that the surgery results were not as good as had

been predicted by the doctor. ln so ruling, the Superior Court reasoned that the intent of the

UTPCPL was not to render physicians absolute guarantors of their treatments and anticipated

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results To premise the liability of doctors based on statements about the course of treatment
"would have the effect of making a physician the absolute guarantor of both his treatment and
the anticipated results even in the absence of a specific contract warranting those results, thereby
rendering physicians "the guarantors of their fault free work." id Likewise, the court in
Foflvgen v. R. Zemel. M.D. (P.C.), supra, concluded that the UTPCPL is "inapplicable to
providers of medical services" and does not provide for a right of action against providers of
professional services ld. Because Dr. Burke was a licensed physician, Plaintiff does not have`a
private right of action under the UTPCPL against him.

The Pennsylvania legislature enacted the UTPCPL with the purpose of protecting the
public from fraud or unfair and deceptive business practices §§ 73 P.S. §201 et. seq; see BQ
Pirozzi v. Penske Olds Cadillac-GMC, lnc., 605 A.2d 373, 375 (Pa.Super. 1992). Because the
underlying foundation of the UTPCPL is fraud prevention, the law is to be liberally construed to
effect that purpose Hampton v. Geico Gen. Ins. Co., 2010 U.S. Dist. LEXIS 131450 (W.D.Pa.

2010), citing Creamer v. MonumentalProp., lnc., 459 A. 450, 329 A.2d 812 (1974). In

 

Pennsylvania, a claim under the UTCPL carries the same burden of proof for a Plaintiff, as a
claim for common law fraud § Santana Prods. v. Bobrick Washroom Equip.. Inc.. 401 F.3d
123, 136 (3rd Cir. 2005), citing Viguers v. Philir) Morris USA. lnc., 837 A.2d 534 (Pa.Super.
2003).

The requisite elements of common law fraud include: 1) a representation; 2) which is
material to the transaction at hand; 3) made falsely, with knowledge of its falsity or recklessness
as to whether it is true or false; 4) with the intent of misleading another into relying on it; 5)

justifiable reliance on the misrepresentation; and 6) the resulting injury was proximately caused

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by the reliance4 § Restat. g2d) of Torts, §525; §§ also Feeney v. Disston Manor Personal

Care Home lnc., 849 A.2d 590 (Pa.Super. 2004), citing Blumenstock v. Gibson, 811 A.2d 1029,

 

1034 (Pa.Super. 2002). To establish fraud under the UTPCPL, Plaintiffs must prove scienter
(Restat. §2d) of Torts, §526), and actual reliance &tpt_apa, quoting Island lnsteel Svstems, Inc. v.
Darrin Waters. 296 F.3d 200, 204, 44 V.I. 389 (3rd Cir. 2002). Plaintiffs must prove their
allegations of fraud by clear and convincing evidence . §§§ E_e_ep_e_y, glprz_t. lnstantly, the record
has no evidence to support a prima facie claim of fraud, against Moving Defendant, lt goes to
follow, that Plaintiffs cannot meet their burden of proof under the UTPCPL, or negligent
misrepresentation since the elements of proof are the same as for fraud

In order for Plaintiffs to defeat a Motion for Summary Judgment, they must identify
specific material issues of fact and the specific evidence in the record which creates the material
issue of fact. _Sp§ I_n_stg:l, at [*57]. Plaintiffs' broad allegations and contentions as to the
existence of general issues of material fact are not admissible evidence, and should not be
considered in ruling upon a Motion for Summary Judgment. I_cL First, Plaintiffs have no private
right of action under the UTCPL against Dr. Burke, a`physician.v _S_e;e_ W_ilsgn, supra; Foflygen,
sapra. Presently, there is no material evidence of record to show that Plaintiff and Dr. Burke had
a seller-consumer relationship as contemplated by the UTPCPL. w Wagner v. Future Planning
M, 2010 U.S. Dist. LEXIS 11973 (W.D. Pa. 2010), citing Edkin v. The Travelers
Companies, 3 Pa.D.&C.4th 557 (1988). Further, there is no evidence of record to support a
prima facie claim of fraud under the UTPCPL, which includes scienter on the part of Dr. Burke
Based on the foregoing, summary judgment should be entered for Dr. Burke, as to Plaintiffs

claims pursuant to UTPCPL, common law fraud, and negligent misrepresentation

 

4 The elements of a negligent misrepresentation are the same for common law fraud and fraud under the UTPCPL.

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F. PLAINTIFFS FAIL TO STATE A CAUSE OF ACTION FOR
LACK OF INFORMED CONSENT UNDER PENNSYLVANIA
LAW AND ACCORDINGLY, PLAINTIFFS' CLAIM AGAlNST
MOVING DEFENDANT FOR VICARIOUS LIABILITY ON
INFORMED CONSENT CLAIM FAILS AS A MATTER OF LAW
Under Pennsylvania law, a physician is required to obtain consent from his patient
concerning any non-emergency procedure enumerated in the Medical Care Availability and
Reduction Act (MCARE) 40 P.S. § 1303.504. The Act requires the physician to obtain the
patient's full, knowing, and voluntary informed consent prior to the following procedures:
(1) Performing surgery, including the related administration of anesthesia.
(2) Administering radiation or chemotherapy.
(3) Administering a blood transfusion

(4) lnserting a surgical device or appliance

(5) Administering an experimental medication, using an experimental device or using an
approved medication or device in an experimental manner.

S_ee_, 40 P.S. § 1303.504 (a). The doctrine of informed consent is limited and applies only to the
procedures enumerated above
The law requires that the patient be advised as to those material facts, risks,

complications and alternatives that a reasonable person in the patient's situation would consider

 

significant in deciding whether to undergo the procedure Moure v. Raeuchele 386 Pa. Super.
127, 563 A.2d 1217 (1989), rev'd on other grounds, 529 Pa. 394, 604 A.2d 1003 (1992). In
order to constitute a valid consent, the patient must be informed of the material risks of the
procedure prior to surgery. Absent this "informed consent," the physician may be held liable to
Plaintiff, under a theory of battery, for injuries arising from the undisclosed risk. Qr_ayL
Grunnagle, 423 Pa. 144, 223 A.2d 663 (1968); Cooper v. Roberts, 220 Pa. Super. 260, 286 A.2d

647 (1971).

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Pennsylvania courts have consistently and repeatedly held that the doctrine of informed
consent applies solely to the surgeon performing surgeries and that the doctrine is based upon
"battery", not negligence principles Moure v. Raeuchle, 604 A.2d 1003, 1008 n.8 (Pa. 1992);
Shaw v. Kirschbaum, 439 Pa. Super. 24, 653 A.2d 12 (1994). Without "offensive touching",
Pennsylvania courts have consistently refused to invoke the informed consent doctrine _S_p§ M_opr_§
v. Raeuchle, 604 A.2d 1003, 1008 n.8 (Pa. 1992) (the "tort founded upon lack of informed consent
is an intentional tort, i.e., a battery;" thus, the issue of negligence is not germane).

The burden is on plaintiff to make out an informed consent claim and, as part of that burden,
plaintiff must present competent and credible expert testimony to determine whether the procedure
at issue constituted the type of procedure which necessitates informed consent and to establish the
existence of risks in the specific medical procedure the existence of alternative methods of
treatment, and the risks attendant to those altematives. Maliszewski_ v. Rendon, 542 A.2d 170, 172
(Pa. Super. 1988); Festa v. Greenberg, 354 Pa. Super. 346, 511 A.2dl 371,_2_1p}§a_l de_rLe_c_l, 515 Pa.
580, 527 A.2d 541 (1986). Once these three elements are established by expert testimony, it
remains for the trier of fact to determine the materiality of those risks If plaintiff does not have
competent expert testimony to support his informed consent claim, then he has failed to present a
prima facie informed consent claim, and the claim must fail. E.

Under MCARE, a plaintiff must also establish the element of causation in order to set forth
a viable claim for lack of informed consent. Specifically, a physician is liable for failure to obtain
informed consent of a patient only if the patient proves that receiving such information would have
been a substantial factor in his decision whether to undergo that procedure

Clearly, the doctrine of informed consent is inapplicable to the facts of this case Laser hair

removal is not an invasive procedure does not constitute surgery, and does not fall within these

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enumerated procedures for which there is a duty to obtain informed consent. Without a legal duty,
there can be no liability (direct or vicarious). Without expert testimony, the trier of fact is precluded
from making a finding of lack of informed consent.

As Plaintiffs have failed to produce expert testimony as mandated under Pennsylvania law,
Plaintiffs have failed to make out a prima facie informed consent claim and consequently, any
claim for vicarious liability against Dr. Burke for failure to obtain informed consent necessarily fails
as a matter of law.

G. PLAINTIFF-WIFE'S CLAIM FOR NEGLIGENT INFLICTION
OF EMOTIONAL DISTRESS FAILS AS A MATTER OF LAW

In the Amended Complaint at Count VlIl, Plaintiff-wife alleges generally that all
Defendants, are liable for negligent infliction of emotional distress based upon a fiduciary duty
owed to Plaintiff as a patient undergoing a medical procedure As Plaintiff cannot sustain her
burden of proof, Moving Defendant is entitled to judgment in his favor as a matter of law.

ln Pennsylvania, the cause of action for negligent infliction of emotional distress is restricted
to four factual scenarios: (1) situations where the defendant had a contractual or fiduciary duty
toward the plaintiff; (2) the plaintiff was subjected to a physical impact; (3) the plaintiff was in a
zone of [**198] danger, thereby reasonably experiencing a fear of impending physical injury; or (4)
the plaintiff observed a tortious injury to a close relative Tonev v. Chester County Hospital, et al,
961 A.2d 192, 2008 Pa. Super. 268, citing Doe v. Philadelphia Communitv Altematives AlDS
Task Force, 2000 Pa. Super. 6, 745 A.2d 25, 26 (Pa. Super. 2000), affd 564 Pa. 264, 767, A.2d 548
(2001).

Under this theory of recovery, Plaintiff must establish the elements of a negligence claim,
namely, that the defendant owed a duty of care to Plaintiff, the Defendant breached that duty, the

breach resulted in injury to the Plaintiff, and the Plaintiff suffered actual harm. Toney, supra;

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Brown v. Philadelphia College of Osteopathic Medicine, 2000 Pa. Super. 262, 760 A.2d 863, 868
(Pa. Super. 2000), appeal _d;epi§pl, 566 Pa. 632, 781 A.2d 137 (2001), quoting Martin v. Evans, 551
Pa. 496, 502, 711 A.2d 458, 461 (1998).

Plaintiffs have produced no evidence to establish that Dr. Burke owed a fiduciary duty to
Plaintiff-wife In fact, the evidence of record proves otherwise By Plaintiffs' own admission, she
never met Dr. Burke, never spoke to him, nor ever received any_literature bearing Dr. Burke's name
or that described him as the Medical Director. Dr. Burke had terminated his relationship with Salon
Secrets in April 2006, while Mrs. Charleston was treated therein February, 2007. Moreover,

Dr. Burke never used the Harmony device on Mrs. Charleston. Therefore, there was no special
" direct relationship between Dr. Burke and Mrs Charleston for which a duty of care was owed.

As set forth previously herein, Plaintiffs have failed to produce any expert testimony to
establish any of the requisite elements of a negligence claim. Consequently, Plaintiffs have not,
and cannot establish a prima facie case
IV, CONCLUSION

For all the foregoing reasons, Moving Defendant, Thomas J. Burke, D.O. respectfully
requests that summary judgment be granted in his favor and that all claims and cross-claims against
him be dismissed with prejudice

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DEBORAH CHARLEsToN & LARRY z cleL ACTIoN
CHARLEsToN (W/h), -
Plaintiffs
v. § No. 08-5889

SALON SECRETS DAY SPA, INC. and

PT LASERS, LLC and PAMELA A. TROYAN

and BARBARA A. LINDNER and THOMAS J.

BURKE, D.O. and JOHN DOE, Nos. 1 - 5,
Defendants

CERTIFICATE OF SERVICE

I, CAROLYN B. DIGIOVANNI, ESQUIRE, do hereby certify that a true and correct
copy of the Motion for Summary Judgment and/or Motion to Dismiss on behalf of Defendant,
Thomas J. Burke, D.O. was electronically filed with the Court on January 14, 2011, and is
available for viewing and downloading from the EFS.
Andrew D. Swain, Esquire
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Neshaminy Valley Commons

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